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                          UNITED STATES BANKRUPTCY COURT

                             MIDDLE DISTRICT OF LOUISIANA


 IN RE: GUIDRY, PHILIP &                                                  CASE NO. 18-10677
        GUIDRY, DEBBIE
                                                                          CHAPTER 7
                           DEBTORS


                     MOTION TO SELL PROPERTY OF THE ESTATE

        The Motion of Martin A. Schott, Trustee, represents that:

                                                   1.

       This case was commenced by the filing of a voluntary petition seeking relief pursuant to
Chapter 7 of Title 11 of the United States Code on 06/19/18.

                                                   2.

         The Trustee proposes to sell to PHILIP GUIDRY and DEBBIE GUIDRY all of the estate's
right, title and interest in the following property:

            27" Emerson TV with DVD/VCR Combination-$35.00;
            HP Notebook Laptop-$150.00; Misc. Costume jewelry and watch $37.50

                                                   3.

        The purchase shall be without any warranty or recourse whatsoever on the part of the Trustee,
even as to the return of the purchase price, but with full substitution and subrogation to all rights and
actions of warranty against all preceding owners, vendors or mortgagors. The purchasers shall buy
the property subject to any and all taxes, liens and encumbrances affecting the property. The
purchase price for the property to be sold is $222.50, which will be paid in cash at the Hearing.

                                                   4.

        The value of the property as scheduled by the debtors is $222.50.
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                                                 5.

       If any party in interest is of the opinion that the property is worth more, then they may make
a higher offer in writing within the time specified in the Notice.

        WHEREFORE, Martin A. Schott, Trustee, prays that, after Notice of the Motion to all parties
in interest and opportunity for hearing, an Order be entered by this Court authorizing the Trustee to
sell by private sale, the property described for the price and on the terms set forth or to such party
offering a higher price, all other things remaining equal.

                                                       RESPECTFULLY SUBMITTED:



                                                        s/Martin A. Schott
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